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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                     Southern Division


GUADALUPE BETANCOURT, Individually,      :
                                         :
             Plaintiff,                  :
                                         :
v.                                       :            Case No. 1:11-cv-792
                                         :
SHRIJI HOSPITALITY, INC.                 :
A Domestic Corporation                   :
                                         :
             Defendant.                  :
_______________________________________/ :

                                         COMPLAINT


          Plaintiff, Guadalupe Betancourt (hereinafter “Plaintiff”), hereby sues the Defendant,

Shriji Hospitality, Inc. a Domestic Corporation (hereinafter “Defendant”), for Injunctive Relief,

and attorney’s fees, litigation expenses, and costs pursuant to the Americans with Disabilities

Act, 42 U.S.C. §12181 et seq. (“ADA”), and for damages pursuant to the Michigan Persons With

Disabilities Civil Rights Act (“PDCRA”), MCL 37.1101 et. seq. In support thereof, Plaintiff

states:

1.        This action is brought by Guadalupe Betancourt, and all persons similarly situated,

pursuant to the enforcement provision of the Americans With Disabilities Act of 1990 (“ADA”),

42 U.S.C. 12188(a) and the Michigan Persons with Disabilities Civil Rights Act (“PDCRA”),

MCL 37.1101 et. seq., against the owners and/or operators of Days Inn.

2.        This Court has jurisdiction over this action pursuant to 28 U.S.C. §1331 and 28 U.S.C.

§1343, which governs actions that arise from the Defendant’s violations of Title III of the

Americans with Disabilities Act, 42 U.S.C. §12181 et seq. See also 28 U.S.C. §2201 and §2202.
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3.      This Court has supplemental jurisdiction pursuant to 28 U.S.C. §1367(a) over Plaintiff’s

State claim as violations of the PDCRA arise from the same facts and circumstances that give

rise to Plaintiff’s ADA claim.

4.      Venue is proper in this judicial district and division. Defendant does business in the State

of Michigan, and all of the acts of discrimination alleged herein occurred in this judicial district

and division.

5.      Plaintiff Guadalupe Betancourt is a resident of Cowley County, Kansas, uses a

wheelchair, and is an individual with a disability within the meaning of ADA, 42 U.S.C.

12102(2), 28 C.F.R. 36.104, and MCL 31.1103.

6.      The Days Inn is located at 771 West Saginaw Highway, Lansing, Ingham County,

Michigan, 48823.

7.      The Days Inn is a place of public accommodation within the meaning of Title III of the

ADA, 42 U.S.C. 12181, 28 C.F.R. 36.104, and MCL 37.1301.

8.      Defendant owns, leases, leases to, or operates the Days Inn, and is responsible for

complying with the obligations of the ADA and the PDCRA.

                                              COUNT I

                                   VIOLATION OF THE ADA

9.      Plaintiff realleges paragraphs one (1) through eight (8) of This Complaint and

incorporates them here as if set forth in full.

10.     Plaintiff has visited the property which forms the basis of this lawsuit and plans to return

the property to avail herself of the goods and services offered to the public at the property.




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11.    There are numerous architectural barriers present at the Days Inn that prevent and/or

restrict access by Plaintiff, in that several features, elements, and spaces of the Days Inn are not

accessible to or usable by Plaintiff, as specified in 28 C.F.R 36.406 and the Standards for

Accessible Design, 28 C.F.R., Pt. 36, Appendix A (‘the Standards”).

12.    Elements and spaces to which there are barriers to access at the Days Inn include, but are

not necessarily limited to:

       a.      The designated accessible parking spaces do not have access aisles provided,

violating Sections 4.1.2, and 4.6.3 of the ADAAG.

       b.      There is no accessible route from the parking areas to the facility, in violation of

Sections 4.3.2, 4.6.2 and 4.6.3 of the ADAAG.

       c.      Some of the disable use spaces have an uneven surface in violation of Section

4.6.3 of the ADAAG.

       d.      There are no accessible routes from the street, sidewalk and parking areas. There

are violations of the requirements in Sections 4.3.2 of the ADAAG.

       e.      There are curb ramps at the facility that contain excessive slopes, in violation of

Sections 4.7.2 of the ADAAG.

       f.      There are ramps at the facility that contain excessive slopes or cross slopes in

violation of Sections 4.8.2 and 4.8.6 of the ADAAG.

       g.      The ramps at the facility do not provide hand rails as prescribed in Section 4.8.5

of the ADAAG.

       h.      There are changes in levels of greater than ½ inch, violating Section 4.3.8 of the

ADAAG.



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       i.     There are stairs provided at the facility that do not comply with the standards

prescribed in Section 4.9 of the ADAAG.

       j.     The doors at several of the building entrances are fitted with inaccessible

hardware at the facility, in violation of Section 4.13.9 of the ADAAG.

       k.     There is not clear path of travel provided between all elements provided in the

room designated for disabled use violating Sections 4.3 and 9 of the ADAAG.

       l.     The rooms designated for disabled use provide elements with controls and/or

dispensers outside of the required reach ranges violating Sections 4.2 and 9 of the ADAAG.

       m.     There are areas for storage provided without the clear floor space prescribed in

Sections 4.2, 4.25.2 and 9 of the ADAAG.

       n.     The rooms designated for disabled use do not provide a roll-in shower for use by

the disabled, violating Section 9 of the ADAAG.

       o.     The grab-bars in the restroom provided in the room designated as accessible do

not comply with the requirements prescribed in Sections 4.17.6 and 4.26 of the ADAAG.

       p.     The bathtub does not provide a seat as required in Section 4.20.3 of the ADAAG.

       q.     The sinks in the restroom provided in the room designated for disabled use do not

meet the requirements prescribed in Sections 4.19 of the ADAAG.

       r.     The clear floor space provided in the restroom of the room designated for disabled

use violates the provisions of Sections 4.18.3 and 4.22 of the ADAAG.

       s.     Toilet Flush is not located on the wide side of the toilet area in violation of

Section 4.16.5 of the ADAAG.




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13.    Defendant’s failure to remove the architectural barriers identified in paragraph twelve

(12) constitutes a pattern or practice of discrimination within the meaning of 42 U.S.C. 12188

(b)(1)(B)(i) and 28 C.F.R. 36.503 (a).

14.    It would be readily achievable for the Defendant to remove the architectural barriers

identified above.

15.    Defendant is required to remove the existing architectural barriers to the physically

disabled when such removal is readily achievable for its place of public accommodation that

have existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there has been an

alteration to Defendant’s place of public accommodation since January 26, 1992, then the

Defendant is required to ensure to the maximum extent feasible, that the altered portions of the

facility are readily accessible to and useable by individuals with disabilities, including

individuals who use wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facility is one

which was designed and constructed for first occupancy subsequent to January 26, 1993, as

defined in 28 CFR 36.401, then the Defendant’s facility must be readily accessible to and

useable by individuals with disabilities as defined by the ADA.

16.    The Defendant has discriminated against Plaintiff by denying her access to, and full and

equal enjoyment of, the goods, services, facilities, privileges, advantages and/or accommodations

of the buildings, as prohibited by 42 U.S.C. § 12182 et seq. and 28 CFR 36.302 et seq

17.    Defendant continues to discriminate against the Plaintiff, and all those similarly situated,

by failing to make reasonable modifications in policies, practices or procedures, when such

modifications are necessary to afford all offered goods, services, facilities, privileges, advantages

or accommodations to individuals with disabilities.



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18.    Plaintiff is without an adequate remedy at law and is suffering irreparable harm. Plaintiff

has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and

litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

19.    Notice to Defendant is not required as a result of the Defendant’s failure to cure the

violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees

and gross receipts of $500,000 or less). All other conditions precedent have been met by

Plaintiffs or waived by the Defendant.

20.    Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

Injunctive Relief, including an order to require the Defendant to make the property readily

accessible and useable to the Plaintiff and all other persons with disabilities as defined by the

ADA; or by closing the facility until such time as the Defendant cures its violations of the ADA

                                             COUNT II

                                 VIOLATION OF THE PDCRA

21.    Plaintiff realleges paragraphs one (1) through twenty (20) of this Complaint and

incorporates them here as if set forth in full

22.    The Defendant has discriminated against Plaintiff by denying her the full and equal

enjoyment of the goods, services, facilities, privileges, advantages, and accommodations of a

place of public accommodation because of a disability, as prohibited by MCL 37.1302.

23.    Plaintiff has desired and attempted to enjoy the goods and services at the Days Inn as a

customer. She has been prevented from doing so due to the existing architectural barriers at the

property. As a result, she has been distressed and inconvenienced thereby, and is entitled to

monetary damages for her injuries, as provided for in MCL 37.1606.



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24.    As a result of being denied full access to the property, Plaintiff has suffered, and will

continue to suffer, emotional distress, humiliation, anxiety, anger, a loss of enjoyment of life, and

other consequential and incidental damages.

                                     PRAYER FOR RELIEF

25.    Because Defendant has engaged in the acts and practices described above, Defendant has

violated the law as alleged in this Complaint and unless restrained by This Honorable Court,

Defendant will continue to violate the Constitution and laws of the United States of America, and

the State of Michigan, and will cause injury, loss and damage to the Plaintiff, and all others so

similarly situated.

WHEREFORE, Plaintiffs respectfully request that This Court:

       A.      Declare that Defendant has violated title III of the Americans with Disabilities

Act, 42 U.S.C. § 12181 et seq, 28 C.F.R. pt. 36, and the Michigan Persons With Disabilities

Civil Rights Act (“PDCRA”), MCL 37.1101 et. seq.

               i.      by failing to bring the Days Inn into compliance with the Standards where

               it is readily achievable to do so; and

               ii.     by failing to take other readily achievable measures to remove

               architectural barriers to access when it is not readily achievable to comply fully

               with the Standards.

       B.      Order Defendant:

               i.      to make all readily achievable alterations to the facility; or to make such

               facility readily accessible to and usable by individuals with disabilities to the

               extent required by the ADA;



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              ii.     to make reasonable modifications in policies, practices or procedures,

              when such modifications are necessary to afford all offered goods, services,

              facilities, privileges, advantages or accommodations to individuals with

              disabilities

       C.     Award damages to Guadalupe Betancourt who has been aggrieved and injured by

the illegal acts of discrimination committed by Defendant;

       D.     Award attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

§ 12205 and MCL 37.1606.

       E.     Order such other appropriate relief as the interests of justice may require.

                                             Respectfully Submitted,



                                             By: /s/ Pete M. Monismith___
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